      Case 5:22-cv-03086-DDC-KGG Document 35 Filed 11/30/22 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS

DAVID W. THAYER,

                       Plaintiff,

v.                                                Case. No. 22-3086

LAURA HOWARD, et al.,

                       Defendants.


             NOTICE OF SERVICE OF WRITTEN DISCOVERY

       The undersigned certifies that on 28th day of October, 2022,

      DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION TO

       PLAINTIFF; and

      DEFENDANTS’ FIRST SET OF INTERROGATORIES TO PLAINTIFF

       (original and a copy),

were serviced by means of first-class mail, postage prepaid, addressed to:

       David W. Thayer
       Larned State Hospital
       Dillon Building East One
       1301 KS Highway 264
       Larned, KS 67550
       Plaintiff, pro se

                                      Respectfully Submitted,

                                      OFFICE OF KANSAS ATTORNEY
                                      GENERAL DEREK SCHMIDT

                                      /s/ Arthur S. Chalmers
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                                      Attorneys for the Defendants

                        CERTIFICATE OF SERVICE

      I hereby certify that on this 28th day of October, 2022, the foregoing

document was served by means of first-class mail, postage prepaid, addressed to:

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      Dillon Building East One
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      Larned, KS 67550
      Plaintiff, pro se

                                      s/Arthur S. Chalmers
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